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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DIGITAL VERIFICATION SYSTEMS,         §
LLC,                                  §              Case No: 2:22-cv-00749-NR
                                      §
      Plaintiff,                      §              PATENT CASE
                                      §
      vs.                             §
                                      §
DOCSCORP, LLC,                        §
                                      §
      Defendant.                      §
_____________________________________ §

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Digital Verification Systems, LLC (“Plaintiff” and/or “DVS”) files this Notice of

Voluntary Dismissal with Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant DocsCorp, LLC

(“Defendant” and/or “DocsCorp”) with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party

to bear its own fees and costs.

Dated February 8, 2023.                      Respectfully submitted,


                                             /s/ Daniel Falcucci
                                             Daniel Falcucci
                                             PA Bar No. 373027
                                             Falcucci Marquardt Legal, LLC
                                             229 Cornell Ave
                                             Clarks Green, PA 18411
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                                             ATTORNEYS FOR PLAINTIFF




NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE                                                     |1
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically on
February 8, 2023, and was served via CM/ECF on all counsel who are deemed to have consented
to electronic service.
                                             /s/ Daniel Falcucci
                                             Daniel Falcucci




NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE                                                  |2
